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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

CLYDE MCCOY,              §
Plaintiff                 §
                          §                  CIVIL ACTION NO. 1:10-cv-745
vs.                       §
                          §                  Jury Trial Demanded
SOUTHWEST CREDIT SYSTEMS, §
LP,                       §
Defendant                 §


                            ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

                                 NATURE OF ACTION

      1.      This is an action for damages brought by an individual plaintiff for

Defendant’s violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692,

et seq. (hereinafter “FDCPA”), the Texas Debt Collection Practices Act, Chapter

392 (hereinafter “TDCPA”) and the Texas Business and Commerce Code,

Subchapter E, Chapter 17, (hereinafter “DTPA”), which prohibit debt collectors

from engaging in abusive, deceptive, and unfair practices.

      2.      Plaintiff seeks to recover monetary damages for Defendant’s violation

of the FDCPA, the TDCPA and the DTPA, and to have an Order or injunction

issued by this Court preventing Defendants from continuing its violative behaviors.

      3.      Service may be made upon Defendant in any other district in which it
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may be found pursuant to 29 U.S.C. §1132(e)(2).

                             JURISDICTION AND VENUE

       4.      Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), 28

U.S.C. § 1331, and 28 U.S.C. § 1337.

       5.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendant transacts

business in this district.

                                     PARTIES

       6.      Plaintiff, Clyde McCoy (“Plaintiff”), is a natural person residing in

Williamson County.

       7.      Plaintiff is a consumer as defined by the FDCPA, 15 U.S.C. §

1692a(3) and the Texas Business and Commerce Code section §17.50(a)(1) and

Texas Finance Code §392.001(1).

       8.      Defendant, Southwest Credit Systems, LP (“Defendant”) is an entity

who at all relevant times was engaged, by use of the mails and telephone, in the

business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C.

§1692a(5) and by Tex. Fin. Code Ann. § 392.001(6).

       9.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6)

and by Tex. Fin. Code Ann. § 392.001(2).
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                            FACTUAL ALLEGATIONS

      10.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

      11.     Plaintiff's obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant, arises from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes and Plaintiff

incurred the obligation, or alleged obligation, owed or due, or asserted to be owed

or due a creditor other than Defendant.

      12.     Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or

regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

      13.     Defendant engaged in conduct the natural consequence of which is to

harass, oppress, or abuse Plaintiff, including Defendant’s collection agent, Fred

Carmac, stating to Plaintiff during a telephone conversation on or about July 9,

2010, in response to Plaintiffs request that Defendant stop calling, “Oh, yes. We

will keep calling you back on this and well also put this on your credit report.” (§

1692d)).

      14.     Defendant falsely represented the character, amount, or legal status of
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Plaintiffs debt, including Defendant continuing to collect on an alleged debt that

Plaintiff does not owe, as he did not agree to accept the services allegedly provided

by Defendants creditor (§ 1692e(2)(A)).

      15.    Defendant communicated or threatened to communicate credit

information which is known or which should be known to be false, including

Defendants collector, Fred Carmac, threatening Plaintiff unequivocally that they

would report this alleged debt to Plaintiffs credit report, regardless of whether he

owed the debt or not (§ 1692e(8)).

      16.    Defendant’s actions constitute conduct highly offensive to a

reasonable person, and as a result of Defendant’s behavior Plaintiff suffered and

continues to suffer injury to Plaintiff’s feelings, personal humiliation,

embarrassment, mental aguish and/or emotional distress.

      17.    As a result of the above violations of the FDCPA, Plaintiff suffered

and continues to suffer personal humiliation, embarrassment, mental anguish and

emotional distress, and Defendants are liable to Plaintiff for Plaintiff’s actual

damages, statutory damages, and costs and attorney’s fees.

                               COUNT I--FDCPA

      18.    Plaintiff repeats and re-alleges each and every allegation contained

above.

      19.    Defendant’s aforementioned conduct violated the FDCPA.
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WHEREFORE, Plaintiff prays for relief and judgment, as follows:

      a) Adjudging that Defendant violated the FDCPA;

      b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

         in the amount of $1,000.00;

      c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

      d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

         this action;

      e) Awarding Plaintiff any pre-judgment and post-judgment interest as

         may be allowed under the law;

      f) Awarding such other and further relief as the Court may deem just and

         proper.

                            COUNT II--TDCPA

20.      Plaintiff repeats and re-alleges each and every allegation above.

21.      Defendant violated the Texas Debt Collection Practices Act in one or

more of the following ways:

      a. 9,12

      b. Using false representations or deceptive means to collect a debt or

         obtain information concerning a consumer, including (Tex Fin Code §

         392.304(a)(19)).

WHEREFORE, Plaintiff prays for relief and judgment, as follows:
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            a) Adjudging that Defendant violated the TDCPA;

            b) Awarding Plaintiff statutory damages pursuant to the TDCPA;

            c) Awarding Plaintiff actual damages pursuant to the TDCPA;

            d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

               this action;

            e) Awarding Plaintiff any pre-judgment and post-judgment interest as

               may be allowed under the law;

            f) Awarding such other and further relief as the Court may deem just and

               proper.

                                    COUNT III—DTPA

      22.      Plaintiff reincorporates by reference herein all prior paragraphs above.

      23.      This suit is brought, in part, under the authority of Tex. Bus. & Com.

Code § 17.41 et seq., commonly known as the Deceptive Trade Practices and

Plaintiff Protection Act and cited in this petition as the “DTPA”.

      24.      Defendant was given notice in writing of the claims made in this

Petition more than sixty days before this suit was filed in the manner and form

required by DTPA §17.505 (a).

      25.      Defendant made numerous material misrepresentations in an attempt

to collect the purported consumer debt as detailed above.

      26.      Defendant knew or should have known that its representations were
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false and/or acted in reckless disregard for the truth or falsity of its representations.

        27.   Defendant’s actions were done maliciously and in willful, wanton and

reckless disregard for the rights of the Plaintiff.

        28.   Defendant’s actions as detailed above constitute a violation of the

Texas Deceptive Trade Practices Act, Tex. Bus. & Com. Code § 17.41.

        29.   The conduct described above has been and is a producing and

proximate cause of damages to Plaintiff. Plaintiff’s damages include: Statutory

damages of at least $100.00 per violation, actual/economic damages, emotional

and/or mental anguish damages, exemplary/punitive damages, and Plaintiff’s

attorneys’ fees and costs.

        30.   Additionally, Plaintiff seeks an award of discretionary additional

damages in an amount not to exceed three times the amount of economic damages

if Defendant’s conduct is found to have been committed knowingly; or an amount

not to exceed three times the amount of economic and mental anguish damages if

Defendants’ conduct is found to have been committed intentionally.

        31.   Plaintiff seeks reasonable and necessary attorney’s fees in this case

through the time judgment is entered and for any post-trial or post-judgment

appeals, to be detailed through a statement of services submitted at the appropriate

time.

        WHEREFORE, Plaintiff prays for relief and judgment as follows:
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    (a)   a declaratory judgment be entered that Defendant’s conduct violated

    the DTPA;

    (b)   an    award     for      all   actual   damages,   exemplary     damages,

    emotional/mental anguish damages and all statutory additional damages, all

    attorneys fees, costs of court, and pre-judgment and post-judgment interest

    at the highest lawful rates.

    (c)   an award of discretionary additional damages in an amount not to

    exceed three times the amount of economic damages if Defendant’s conduct

    is found to have been committed knowingly; or an amount not to exceed

    three times the amount of economic and mental anguish damages if

    Defendant’s conduct is found to have been committed intentionally.

    (d)   such other and further relief as may be just and proper.

                                TRIAL BY JURY

    32.   Plaintiff is entitled to and hereby demands a trial by jury.

                                              Respectfully submitted,


                                              By: /s/ Dennis R. Kurz
                                              Dennis R. Kurz
                                              Texas State Bar # 24068183
                                              Attorney in Charge for Plaintiff

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                          CERTIFICATE OF SERVICE


I certify that on October 7th, 2010, I electronically filed the foregoing document
with the clerk of the U.S. District Court, Western District of Texas, Austin
Division, using the electronic case filing system of the court.


                                                           /s/ Dennis R. Kurz
                                                           Dennis R. Kurz
